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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-1541V
                                        UNPUBLISHED


    MARY K. JOHNSON,                                        Chief Special Master Corcoran

                        Petitioner,                         Filed: July 5, 2022
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Joseph Alexander Vuckovich, Maglio Christopher & Toale, PA, Washington, DC, for
Petitioner.

Mary Eileen Holmes, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On November 6, 2020, Mary K. Johnson filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (SIRVA) resulting from adverse effects of an influenza (flu) vaccination she
received on November 14, 2018. Petition at 1. Petitioner further alleges that her vaccine-
related injuries have lasted more than six months, and neither she, nor any other party,
has ever brought an action for her vaccine-related injuries. Petition at 1-3. The case was
assigned to the Special Processing Unit of the Office of Special Masters.



1 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        On June 30, 2022, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Respondent determined that “[P]etitioner has satisfied the criteria set forth in the Vaccine
Injury Table (“Table”) and the Qualifications and Aids to Interpretation (“QAI”) for a SIRVA
injury caused by the flu vaccination she received in November 2018.” Id. at 5. Specifically,
Respondent found that “[P]etitioner had no relevant history of pain, inflammation, or
dysfunction in her left shoulder prior to [vaccination]; her pain and reduced range of
motion occurred within 48 hours of receipt of an intramuscular vaccination; her symptoms
were limited to the shoulder in which the vaccine was administered; and no other condition
or abnormality was identified to explain her symptoms.” Id. at 5. Thus, “[R]espondent
concedes that entitlement to compensation is appropriate under the terms of the Vaccine
Act.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                        s/Brian H. Corcoran
                                                        Brian H. Corcoran
                                                        Chief Special Master




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